Case: 1:24-cv-06795 Document #: 391 Filed: 04/09/25 Page 1 of 1 PageID #:3482

                   UNITED STATES DISTRICT COURT
      FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                Eastern Division

Multiplan Health Insurance Provider
Litigation, et al.
                                                  Plaintiff,
v.                                                             Case No.: 1:24−cv−06795
                                                               Honorable Matthew F.
                                                               Kennelly
Multiplan, Inc., et al.
                                                  Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, April 9, 2025:


         MINUTE entry before the Honorable Matthew F. Kennelly: Video status hearing
scheduled for April 11, 2025 at 10:30 a.m. Central. Members of the public and media will
be able to call in to listen to this hearing. The call−in number is (650) 479−3207 and the
call−in ID is 23134765321##. Counsel of record will receive an email invitation prior to
the start of the video hearing with instructions to join the video conference. Persons
granted remote access to proceedings are reminded of the general prohibition against
photographing, recording, and rebroadcasting of court proceedings. Violation of these
prohibitions may result in sanctions, including removal of court issued media credentials,
restricted entry to future hearings, denial of entry to future hearings, or any other sanctions
deemed necessary by the Court. Mailed notice. (mma, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
